  Case 16-30672           Doc 44       Filed 12/12/17 Entered 12/12/17 15:34:38                     Desc Main
                                         Document     Page 1 of 1


                          UNITED STATES DEPARTMENT OF JUSTICE
                            OFFICE OF UNITED STATES TRUSTEE
                                       REGION 12

IN RE:

VORTEX DRAIN TILING LLC,                              UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF NORTH DAKOTA
                                                      CASE NO. 16-30672
                                                      Chapter 7

                   APPOINTMENT OF TRUSTEE AND APPROVAL OF BOND


The following person is hereby appointed trustee in the above referenced case and said trustee’s
bond is fixed under the blanket bond heretofore approved.

                                    Forrest C. Allred
                                    14 SE 2nd Avenue, Suite 200
                                    Aberdeen, SD 57401
                                    (605) 225-3933
                                    (605) 226-3371 (fax)
                                    forrest.allred@gmail.com (email)

If the trustee rejects this appointment, the trustee must notify the United States Bankruptcy Court
and the United States Trustee within seven (7) days of receipt hereof. Otherwise, the trustee will
be deemed to have accepted the appointment as of the date hereof.

                                                               DANIEL M. MCDERMOTT
                                                               U.S. Trustee
                                                               Region 12

                                                      by:      /s/Robert B. Raschke
                                                               Assistant U.S. Trustee
Dated: December 12, 2017

--------------------------------------------------------------------------------------------------------------------

                                                  REJECTION

I, Forrest Allred, hereby reject appointment as interim trustee in the above referenced case and
certify that I filed the original hereof with the United States Bankruptcy Court and a copy hereof
with the United States Trustee.

                                                               _________________________
                                                               Forrest Allred
Dated: ____________________
